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                                                                                                                                Escrow Analysis
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                                                                                                                                     Statement
                                                                                                 Statement Date:                                          June 30, 2021
                                                                                                 Loan Number:




     ------ manifest line ---------
     ANGELA WILLIAMS
     1910 CELEBRATION PARK CIRCLE
     BELLEVILLE IL 62220-0000



      DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT




   We review your escrow account annually to ensure that you have adequate funds to cover your tax and insurance items for the next 12 months. The amounts billed
   for certain escrow items changed. This statement describes the changes, possible changes to your monthly payments, and your options.

What changed?
                        Property Taxes                                        Homeowner's Insurance
      $3,000.00                                                    $600.00
      $2,966.67                                                    $533.33
      $2,933.33                                                    $466.67
      $2,900.00                                                    $400.00
      $2,866.67                                                    $333.33
      $2,833.33                                                    $266.67
      $2,800.00                                                    $200.00
      $2,766.67                                                    $133.33
      $2,733.33                                                     $66.67
      $2,700.00                                                      $0.00
                       Prior              Current                                N/A               Current
              Taxes decreased by $1.94 per year.                      Insurance increased by $538.56 per year.
   Changes in the above items mean that the amount needed in your escrow account increased by $536.62 per year.
How do these changes affect me?
 Based upon the Anticipated Escrow Disbursements and Payments, we have determined that your Escrow Account has sufficient funds. In order to receive a refund your
 loan must be current, in good standing and have sufficient funds in your escrow account.
                                      Current                                       New Monthly
                                      Payment          Escrow Change              Payment Effective
                                                                                      09/2021
                 Due Date                 05/2021                                                  09/2021
     Principal and Interest               $488.85                                                  $488.85
         Escrow Payment                   $252.95                  $37.01                          $289.96
          Escrow Overage                                                                              $0.00
                   TOTAL                  $741.80                                                  $778.81
    A detailed explanation of the calculations for your escrow account is located on page 2.
   Note: 'Online bill payment users: Your payment is changing effective 09/01/2021 so action is required. Please log into your bank's online account and update your
   payment amount. Thank you!
                                                                                                                                                                                      ALGPBPHMHLGPFJBKAPFIEIDNGLEPAPGK

                                                                                                                                                                                                                         AGGMOCOOIOOGGCOKACCMMOKCAMAMIAOK
                                                                                                                                                                           --- no inserts ---




Rushmore Loan Management Services LLC
ESCROW OVERAGE
                                                                                          Based upon the Anticipated Escrow Disbursements and Payments, we have
Loan Number:                                                                              determined that your Escrow Account has sufficient funds. In order to receive
Mortgager Name: ANGELA WILLIAMS                                                           a refund your loan must be current, in good standing and have sufficient funds
                                                                                          in your escrow account.
Escrow Overage Amount: $1,225.80

          Rushmore Loan Management Services LLC
          P.O. Box 514707
          Los Angeles, CA 90051-4707
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 June 30, 2021                                                                                                         Loan Number:


How did Rushmore make the escrow calculations?
 Step 1: Rushmore analyzes all items paid by the escrow account, we then calculate the amount that you’ll likely need to pay these
 bills.
 Step 2: We take your anticipated taxes and/or insurance premiums to determine the total outgoing payments. We then divide the
 total outgoing payments by 12 to determine your monthly escrow amount.
 Your total anticipated tax and/or insurance premium(s) are as follows:
 Annual Property Taxes                                 $2,941.00
 Annual Property Insurance                              $538.56
 Total                                                 $3,479.56 divided by 12 months = $289.96

 Step 3: We calculate the minimum required escrow balance. Your escrow account must have a minimum balance of $0.00 for the
 next year.
 Step 4: We calculate your annual escrow account projection for the coming year. If your monthly escrow balance falls below the
 minimum balance of $0.00, your escrow account experiences a shortage. If our calculation determines that your monthly escrow
 balance will not reach the minimum balance, your escrow account will have an overage.
 The table below demonstrates the estimated activity in your escrow account for the coming year.


What escrow activity is expected in the coming year?
  The highlighted row indicates the lowest estimated escrow balance for the year of $16.38. The difference between the lowest
  projected balance of $16.38 and the minimum required escrow balance of $0.00 is $1,225.80.

  $1,225.80 is your escrow overage.

                            PAYMENTS        ESTIMATED PAYMENTS FROM                                                  ESCROW ACCOUNT
                               TO              ESCROW ACCOUNT                                                              BALANCE
                             ESCROW MIP/PMI      Taxes      Flood Homeowner's                                        Estimated Required
                            ACCOUNT                     Insurance        Insurance




                                                                                                                                                            ALGPBPHMHIBMGK
                                                                                                                                                                             APHMOGNOOBFCPK
                                                                                                                                                                                              AELCCHJGPADMJK
                                                                                                                                                                                                               DDLLDDLLLLDLLL
          Anticipated
         Date of Activity                                         Starting Balance                                       $16.42              $0.04
             Sep 21              $289.96                                                                $44.88          $261.50           $245.12
             Oct 21              $289.96                                                                $44.88          $506.58           $490.20
            Nov 21               $289.96                                                                $44.88          $751.66           $735.28
            Dec 21               $289.96                                                                $44.88          $996.74           $980.36
             Jan 22              $289.96                                                                $44.88         $1,241.82         $1,225.44
             Feb 22              $289.96                                                                $44.88         $1,486.90         $1,470.52
             Mar 22              $289.96                                                                $44.88         $1,731.98         $1,715.60
             Apr 22              $289.96                                                                $44.88         $1,977.06         $1,960.68
            May 22               $289.96                        $1,470.50                                               $796.52           $780.14
            May 22                                                                                      $44.88          $751.64           $735.26
             Jun 22              $289.96                                                                $44.88          $996.72           $980.34
              Jul 22             $289.96                                                                $44.88         $1,241.80         $1,225.42
             Aug 22              $289.96                        $1,470.50                                                 $61.26            $44.88
             Aug 22                                                                                     $44.88            $16.38             $0.00

   NOTE: If this escrow analysis indicates that there is a surplus, it may not mean that you are entitled to receive a return of that surplus. This
   analysis was calculated based on an assumption that the account is current according to the terms of the note and Mortgage/Deed of Trust. If
   the account is behind, in default, or in bankruptcy, this analysis may not reflect the current state of the account or the terms of a bankruptcy
   plan. If there are enough funds in the escrow account the surplus will be mailed to you within 30 days, provided the account is current under the
   terms of the note and Mortgage/Deed of Trust.

          E—Indicates the activity has not yet occurred but is estimated to occur as shown.
  *If there is an amount listed in the “Actual” column under Payments To Escrow Account on Page 2 above, then this is the assumption that was made and

  indicates the amount that would have been paid into escrow for a contractually current loan. This number does not represent payments that were actually

  made by you. As discussed above, these escrow calculations are calculated based on an assumption that the account would be current according to the

  terms of the note and mortgage/deed of trust.




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June 30, 2021                                                                                                  Loan Number:
 Rushmore Loan Management Services LLC is a Debt Collector, who is attempting to collect a debt. Any information obtained will be used for
 that purpose. However, if you are in Bankruptcy or received a Bankruptcy Discharge of this debt, this letter is being sent for informational
 purposes only, is not an attempt to collect a debt and does not constitute a notice of personal liability with respect to the debt.

                                                        ADDITIONAL NOTICES
 Rushmore Loan Management Services LLC is a Debt Collector attempting to collect a debt.

 Bankruptcy Notice. If you are in bankruptcy or if your obligation to repay this loan was discharged in bankruptcy, this
 informational notice is sent to you in order to comply with statutory requirements. It is not an attempt to collect a debt. You may
 disregard information relating to payment remittance. You are not obligated to make payments and any amount(s) you do pay




                                                                                                                                                    007279 2/2
 Rushmore is at your discretion. Please note, however, Rushmore reserves the right to exercise its legal rights, including but not
 limited to foreclosure of its lien interest, only against the property securing the original obligation.

 If you have any other mortgage loans secured by the same property not serviced by Rushmore, please contact your other servicer
 directly to discuss any possible loss mitigation options that may be available to you.

 If you are a confirmed Successor-in-Interest who has not assumed the mortgage loan obligation under State Law, this letter is being
 sent for information purposes only and does not constitute personal liability with respect to the debt.

 LEGAL NOTIFICATION: Rushmore Loan Management Services LLC may report information about your account to credit
 bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.

 Notice of Error Resolution & Information Request Procedures
 The following outlines the Error Resolution and Information Request Procedures for your mortgage account at Rushmore Loan
 Management Services LLC (RLMS). Please keep this document for your records.

 If you think an error has occurred on your mortgage account or if you need specific information about the servicing of

 your loan, please write us at:


                                                 Rushmore Loan Management Services LLC
                                                            P.O. Box 52262
                                                        Irvine, CA 92619-2262

 All written requests for information or notices of error should contain the following information:
     1. Your name
     2. Account number
     3. Property Address
     4. Description of the error and explanation as to why you believe it is an error or a request for specific information regarding
        the servicing of your loan
     5. Current contact information so we may follow up with you

 All written requests for specific information will be handled within 30 days of receipt. We will determine whether an error
 occurred within 30 days after receiving your notice of error and will correct any error promptly (Notices of error on payoff
 statements will be handled within 7 days). If additional time is needed to investigate your complaint or request, we may take up to
 45 days but we will notify you of the extension within the original 30 days. If we decide that there was no error, we will send you a
 written explanation. You may ask for copies of the documents that we used in our investigation.

 HUD STATEMENT
 Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive
 counseling from various local agencies regarding the retention of your home. You may obtain a list of the HUD approved housing
 counseling agencies by calling the HUD nationwide toll-free telephone at 1-800-569-4287.
                                                                                                                                                        ALGPBPHMHLGPFJBKAPFIEIDNGLEPAPGK

                                                                                                                                                                                           AGGMOCOOIOOGGCOKACCMMOKCAMAMIAOK




 Equal Credit Opportunity Act Disclosure
 NOTICE: The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of
 race, color, religion, national origin, sex, marital status, age (provided the applicant has the capacity to enter into a binding
 contract); because all or part of the applicant's income derives from any public assistance program; or because the applicant has in
 good faith exercised any right under the Consumer Credit Protection Act. The federal agency that administers compliance with this
 law concerning this creditor is the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC 20552 or
 Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.




                                                                                                                                        Rev 04/21
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                               EAST ST. LOUIS DIVISION

 In Re:                                          Case No. 18-30665-lkg

 Angela M. Williams
  aka Angela Marie Williams
                                                 Chapter 13
  aka Angela Williams
  aka Angie Williams

 Debtor.                                         Hon. Judge Laura K. Grandy

                                CERTIFICATE OF SERVICE

      Attached is a courtesy copy for your records of the Notice of Mortgage Payment Change
which was entered in the case herein.

        The undersigned certifies that this document was served electronically through the
Court’s electronic mailing system pursuant to the notice generated by the Court on July 26, 2021
to the following parties:

TO TRUSTEE: Russell C. Simon at simontrustee@yahoo.com
TO DEBTOR’S COUNSEL: Jerry D. Graham, Jr. at court@jdgrahamlaw.com

       The Notice of Mortgage Payment Change was further serviced by mailing, postage
prepaid in the United States Mail, using first-class postage to the following parties:

          TO DEBTOR: Angela M. Williams, at 1910 Celebration Park Circle Belleville, IL 62220

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (OH 0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor
